UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
AT GREENEVILLE

UNITED STATES OF AMERICA

Vv.

ALMA NICOLE CRADIC,
a.k.a. “Alma Bowers”,

a.k.a. “Nicole”,

a.k.a. “Nicole Jolene”,
CLAUDE MOSLEY, JR.

a.k.a. “J.R.”,

BARRY JONES,

TRAVIS DOUGLAS ADAMS,
SIERRA MICHELLE CROY,
BRIDGETTE JOAN BLEDSOE,
CHAD GARY FRAZIER,
BRIAN SCOTT SHEETS
ANGELA MARIE FALIN
a.k.a. “Angel”,

DENNIS RAY BISHOP, JR.,
a.k.a. “Butch”,

JACOB COLE, and

RACHEL MATHES,

a.k.a. “Rachel Christian”

SUPERSEDING INDICTMENT

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COUNT ONE

FILED

OCT 13 2021

Clerk, U. S. District Court
Eastern District of Tennessee
At Greeneville

No. 2:21-CR-4
Judge Corker

TO BE SEALED

The Grand Jury charges that beginning in or about the month of August 2019 and

continuing to in or about August 2021, within the Eastern District of Tennessee and elsewhere,

the defendants, ALMA NICOLE CRADIC, also known as “Alma Bowers”, also knowns as

“Nicole”, also known as “Nicole Jolene”, CLAUDE MOSLEY, JR., also known as “J.R.”,

BARRY JONES, TRAVIS DOUGLAS ADAMS, SIERRA MICHELLE CROY, BRIDGETTE

JOAN BLEDSOE, CHAD GARY FRAZIER, BRIAN SCOTT SHEETS, ANGELA MARIE

FALIN, also known as “Angel”, DENNIS RAY BISHOP, JR., also known as “Butch”, JACOB
COLE, RACHEL MATHES, also known as “Rachel Christian” and other persons known and
unknown to the Grand Jury, did knowingly, intentionally, and without authority combine,
conspire, confederate and agree with each other and with diverse other persons to commit the
following offenses against the United States of America: The distribution of 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance,
in violation of Title 21, United States Code, Section 841(a)(1).

[21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A)]

COUNT TWO
The Grand Jury further charges that on or about August 22, 2019, within the Eastern
District of Tennessee, the defendant, CLAUDE MOSLEY, JR., also known as “J.R.”, did
knowingly, intentionally, and without authority possess with intent to distribute 5 grams or more
of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled
substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

COUNT THREE
The Grand Jury further charges that on or about September 19, 2019, within the Eastern
District of Tennessee, the defendant, CLAUDE MOSLEY, JR., also known as “J.R.”, and
BRIDGETTE JOAN BLEDSOE, aided and abetted by each other, did knowingly, intentionally
and without authority possess with the intent to distribute 5 grams or more of methamphetamine,
its salts, isomers, and salts of its isomers, a Schedule II controlled substance.
[21 U.S.C. §§ 841(a)(1), (b)(1)(B), 18 U.S.C. § 2 and Pinkerton v. United States, 328 U.S. 640

(1946) (Pinkerton liability)
COUNT FOUR

The Grand Jury further charges that on or about May 18, 2020, within the Eastern District
of Tennessee, the defendants, ANGELA FALIN, also known as “ANGEL”, did knowingly,
intentionally and without authority possess with the intent to distribute 5 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance.
[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

COUNT FIVE

The Grand Jury further charges that on or about May 18, 2020, within the Eastern District
of Tennessee, the defendants, CLAUDE MOSLEY, JR., also known as “J.R.”, did knowingly
possess a firearm in furtherance of a drug trafficking offense as charged in Count One, in
violation of Title 21, United States Code, Section 841(a)(1), which is hereby incorporated by
reference.
[18 U.S.C. § 924(c)(1)(A)]

COUNT SIX

The Grand Jury further charges that on or about May 18, 2020, within the Eastern District
of Tennessee, the defendant, CLAUDE MOSLEY, JR., also known as “J.R.”, knowing that he
had previously been convicted of a crime punishable by imprisonment for a term exceeding one
year, knowingly possessed a firearm, namely a Hipoint, Model JCP, .40 caliber semi-automatic
pistol (S/N X7240651), said firearm having been shipped and transported in interstate
commerce.

[18 U.S.C. § 922(g)(1)]
COUNT SEVEN
The Grand Jury further charges that on or about June 13, 2020, within the Eastern District
of Tennessee, the defendant, CHAD GARY FRAZIER and RACHEL MATHES, also known as
“Rachel Christian”, aided and abetted by each other, did knowingly, intentionally and without
authority possess with the intent to distribute 50 grams or more of methamphetamine, its salts,
isomers, and salts of its isomers, a Schedule II controlled substance.
[21 U.S.C. §§ 841(a)(1), (b)(1)(A), 18 U.S.C. § 2 and Pinkerton v. United States, 328 U.S. 640
(1946) (Pinkerton liability)]
COUNT EIGHT
The Grand Jury further charges that on or about September 28, 2020, within the Eastern
District of Tennessee, the defendant, CLAUDE MOSLEY, JR., also known as “J.R.”, did
knowingly, intentionally, and without authority possess with intent to distribute 50 grams or
more of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled

substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]

COUNT NINE
The Grand Jury further charges that on or about September 28, 2020, within the Eastern
District of Tennessee, the defendant, CLAUDE MOSLEY, JR., also known as “J.R.”, did
knowingly possess a firearm in furtherance of a drug trafficking offense as charged in Count
Eight, in violation of Title 21, United States Code, Section 841(a)(1), which is hereby
incorporated by reference.

[18 U.S.C. § 924(c)(1)(A)]
COUNT TEN

The Grand Jury further charges that on or about September 28, 2020, within the Eastern
District of Tennessee, the defendant, CLAUDE MOSLEY, JR., also known as “J.R.”, knowing
that he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed firearms, namely a, Taurus model G3, 9mm pistol, and
a R6hm GMBH Sontheim-Brenz, .38 caliber pistol, said firearms having been shipped and
transported in interstate commerce.

[18 U.S.C. § 922(g)(1)]
COUNT ELEVEN

The Grand Jury further charges that on or about October 9, 2020, within the Eastern
District of Tennessee, the defendant, JACOB COLE did knowingly, intentionally, and without
authority possess with intent to distribute 5 grams or more of methamphetamine, its salts,

isomers, and salts of its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (6)(1)(B)]

COUNT TWELVE
The Grand Jury further charges that on or about October 9, 2020, within the Eastern
District of Tennessee, the defendant, JACOB COLE, did knowingly possess a firearm in
furtherance of a drug trafficking offense as charged in Count Eleven, in violation of Title 21,
United States Code, Section 841(a)(1), which is hereby incorporated by reference.

[18 U.S.C. § 924(c)(1)(A)]
COUNT THIRTEEN

The Grand Jury further charges that on or about October 9, 2020, within the Eastern
District of Tennessee, the defendant, JACOB COLE, knowing that he had previously been
convicted of a crime punishable by imprisonment for a term exceeding one year, knowingly
possessed a firearm, namely a, Smith and Wesson, model M&P Shield, 9mm caliber, semi-
automatic pistol (S/N JCU0829), said firearm having been shipped and transported in interstate
commerce.

[18 U.S.C. § 922(g)(1)]
COUNT FOURTEEN

The Grand Jury further charges that on or about October 29, 2020, within the Eastern
District of Tennessee, the defendant, BARRY JONES, did knowingly, intentionally, and without
authority distribute 5 grams or more of methamphetamine, its salts, isomers, and salts of its

isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (6)(1)(B)]

COUNT FIFTEEN
The Grand Jury further charges that on or about October 31, 2020, within the Eastern
District of Tennessee, the defendant, CLAUDE MOSLEY, JR., also known as “J.R.”, did
knowingly, intentionally, and without authority possess with intent to distribute 50 grams or
more of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled
substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]
COUNT SIXTEEN
The Grand Jury further charges that on or about November 20, 2020, within the Eastern
District of Tennessee, the defendant, BARRY JONES, did knowingly, intentionally, and without
authority distribute 5 grams or more of methamphetamine, its salts, isomers, and salts of its

isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

COUNT SEVENTEEN
The Grand Jury further charges that on or about November 22, 2020, within the Eastern
District of Tennessee, the defendant, TRAVIS DOUGLAS ADAMS did knowingly,
intentionally, and without authority possess with intent to distribute 50 grams or more of

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]

COUNT EIGHTEEN

The Grand Jury further charges that on or about December 14, 2020, within the Eastern
District of Tennessee, the defendant, BARRY JONES, did knowingly, intentionally, and without
authority distribute 50 grams or more of methamphetamine, its salts, isomers, and salts of its

isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]
COUNT NINETEEN

The Grand Jury further charges that on or about January 15“, 2021, within the Eastern
District of Tennessee, the defendant, BARRY JONES, did knowingly, intentionally, and without
authority possess with intent distribute 50 grams or more of methamphetamine, its salts, isomers,
and salts of its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]
COUNT TWENTY

The Grand Jury further charges that on or about January 15, 2021, within the Eastern
District of Tennessee, the defendant, BARRY JONES, did knowingly possess a firearm in
furtherance of the drug trafficking offense as charged in Count Nineteen in violation of Title 21,
United States Code, Section 841(a)(1), which is hereby incorporated by reference.

[18 U.S.C. § 924(c)(1)(A)]
COUNT TWENTY-ONE

The Grand Jury further charges that on or about January 15", 2021, within the Eastern
District of Tennessee, the defendant, BARRY JONES, knowing that he had previously been
convicted of a crime punishable by imprisonment for a term exceeding one year, knowingly
possessed a firearm, namely a Glock 19 pistol (serial PHW 125), said firearm having been
shipped and transported in interstate commerce.

[18 U.S.C. § 922(g)(1)]
COUNT TWENTY-TWO
The Grand Jury further charges that on or about January 15", 2021, within the Eastern
District of Tennessee, the defendant, BARRY JONES, did knowingly, intentionally, and without
authority distribute 50 grams or more of methamphetamine, its salts, isomers, and salts of its
isomers, a Schedule II controlled substance.
[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]
COUNT TWENTY-THREE
The Grand Jury further charges that on or about January 15", 2021, within the Eastern
District of Tennessee, the defendant, BARRY JONES, at a time subsequent to that set out in
Count Nineteen, did knowingly, intentionally, and without authority possess with intent
distribute 50 grams or more of methamphetamine, its salts, isomers, and salts of its isomers, a
Schedule II controlled substance.
[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]
COUNT TWENTY-FOUR
The Grand Jury further charges that on or about January 15", 2021, within the Eastern
District of Tennessee, the defendant, BARRY JONES, at a time subsequent to that set out in
Count Twenty, did knowingly possess a firearm in furtherance of the drug trafficking offense as
charged in Count Twenty-Three in violation of Title 21, United States Code, Section 841(a)(1),
which is hereby incorporated by reference.

[18 U.S.C. § 924(c)(1)(A)]
COUNT TWENTY-FIVE

The Grand Jury further charges that on or about January 15", 2021, within the Eastern
District of Tennessee, the defendant, BARRY JONES, at a time subsequent to that set out in
Count Twenty-One, knowing that he had previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed a firearm, namely a Sig Sauer
9mm caliber pistol, said firearm having been shipped and transported in interstate commerce.

[18 U.S.C. § 922(g)(1)]

COUNT TWENTY-SIX

The Grand Jury further charges that on or about January 15", 2021, within the Eastern
District of Tennessee, the defendant, DENNIS RAY BISHOP, JR., also known as “Butch”, did
knowingly, intentionally, and without authority possess with intent distribute 50 grams or more
of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled
substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]
COUNT TWENTY-SEVEN

The Grand Jury further charges that on or about January 15", 2021, within the Eastern
District of Tennessee, the defendant, DENNIS RAY BISHOP, JR., also known as “Butch”, did
knowingly possess a firearm in furtherance of the drug trafficking offense as charged in Count
Twenty-Six, in violation of Title 21, United States Code, Section 841(a)(1), which is hereby
incorporated by reference.

[18 U.S.C. § 924(c)(1)(A)]

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COUNT TWENTY-EIGHT

The Grand Jury further charges that on or about January 15", 2021, within the Eastern
District of Tennessee, the defendant, JACOB COLE, did knowingly, intentionally, and without
authority possess with intent distribute 50 grams or more of methamphetamine, its salts, isomers,
and salts of its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]
COUNT TWENTY-NINE

The Grand Jury further charges that on or about January 20, 2021, within the Eastern
District of Tennessee, the defendant, SIERRA MICHELLE CROY did knowingly, intentionally,
and without authority possess with intent to distribute 50 grams or more of methamphetamine, its

salts, isomers, and salts of its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b\(1)(A)]

COUNT THIRTY
The Grand Jury further charges that on or about January 20, 2021, within the Eastern
District of Tennessee, the defendant, SIERRA MICHELLE CROY did knowingly possess a
firearm in furtherance of the drug trafficking offense as charged in Count Twenty-Nine, in
violation of Title 21, United States Code, Section 841(a)(1), which is hereby incorporated by

reference.

[18 U.S.C. § 924(c)(1)(A)]

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COUNT THIRTY-ONE
The Grand Jury further charges that on or about January 30, 2021, within the Eastern
District of Tennessee, the defendant, ALMA NICOLE CRADIC, also known as “Alma Bowers”,
also known as “Nicole”, also known as “Nicole Jolene” and BARRY JONES, aided and abetted
by each other, did knowingly, intentionally and without authority possess with the intent to
distribute 5 grams or more of methamphetamine, its salts, isomers, and salts of its isomers, a
Schedule II controlled substance.
[21 U.S.C. §§ 841(a)(1), (b)(1)(B), 18 U.S.C. § 2 and Pinkerton v. United States, 328 U.S. 640
(1946) (Pinkerton liability)]
COUNT THIRTY-TWO
The Grand Jury further charges that on or about January 30, 2021, within the Eastern
District of Tennessee, the defendants, ALMA NICOLE CRADIC, also known as “Alma
Bowers”, also known as “Nicole”, also known as “Nicole Jolene” and BARRY JONES, aided
and abetted by each other, did knowingly possess a firearm in furtherance of a drug trafficking
offense as charged in Count Thirty-One, in violation of Title 21, United States Code, Section
841(a)(1), which is hereby incorporated by reference.
[18 U.S.C. § 924(c)(1)(A), 18 U.S.C. § 2 and Pinkerton vy. United States, 328 U.S. 640 (1946)

(Pinkerton liability)]

12
COUNT THIRTY-THREE
The Grand Jury further charges that on or about January 30, 2021, within the Eastern
District of Tennessee, the defendants, ALMA NICOLE CRADIC, also known as “Alma
Bowers”, also known as “Nicole”, also known as “Nicole Jolene”, knowing that she had
previously been convicted of a crime punishable by imprisonment for a term exceeding one year,
knowingly possessed firearms, namely
1. Taurus revolver (S/N HX45156)
2. Smith & Wesson, model SD9VE, handgun (S/N FY W8420)
said firearms having been shipped and transported in interstate commerce.
[18 U.S.C. § 922(g)(1)]
COUNT THIRTY-FOUR
The Grand Jury further charges that on or about January 30, 2021, within the Eastern
District of Tennessee, the defendant, BARRY JONES, knowing that he had previously been
convicted of a crime punishable by imprisonment for a term exceeding one year, knowingly
possessed firearms, namely
1. Taurus revolver (S/N HX45156)
2. Smith & Wesson, model SD9VE, handgun (S/N FY W8420)
said firearms having been shipped and transported in interstate commerce.

[18 U.S.C. § 922(¢)(1)]

13
COUNT THIRTY-FIVE
The Grand Jury further charges that on or about January 30, 2021, within the Eastern
District of Tennessee, the defendant, TRAVIS DOUGLAS ADAMS did knowingly,
intentionally, and without authority possess with intent to distribute 50 grams or more of

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule IJ controlled substance.

[21 U.S.C. §§ 841(a)(1), (6)(1)(A)]

COUNT THIRTY-SIX

The Grand Jury further charges that on or about February 18, 2021, within the Eastern
District of Tennessee, the defendant, RACHEL MATHES, also known as “Rachel Christian”,
did knowingly, intentionally, and without authority possess with intent to distribute 5 grams or
more of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled

substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

COUNT THIRTY-SEVEN
The Grand Jury further charges that on or about March 16, 2021, within the Eastern
District of Tennessee, the defendant, SIERRA MICHELLE CROY and, did knowingly,
intentionally and without authority possess with the intent to distribute 50 grams or more of

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]

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COUNT THIRTY-EIGHT
The Grand Jury further charges that on or about April 20, 2021, within the Eastern
District of Tennessee, the defendant, BRIAN SCOTT SHEETS did knowingly, intentionally, and
without authority possess with intent to distribute 5 grams or more of methamphetamine, its
salts, isomers, and salts of its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

COUNT THIRTY-NINE
The Grand Jury further charges that on or about April 29, 2021, within the Eastern
District of Tennessee, the defendant, SIERRA MICHELLE CROY did knowingly, intentionally,
and without authority distribute 5 grams or more of methamphetamine, its salts, isomers, and
salts of its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

COUNT FORTY
The Grand Jury further charges that on or about May 4, 2021, within the Eastern District
of Tennessee, the defendant, SIERRA MICHELLE CROY did knowingly, intentionally, and
without authority distribute 5 grams or more of methamphetamine, its salts, isomers, and salts of

its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

15
COUNT FORTY-ONE
The Grand Jury further charges that on or about June 18, 2021, within the Eastern District
of Tennessee, the defendant, BRIAN SCOTT SHEETS did knowingly, intentionally, and without
authority possess with intent to distribute 5 grams or more of methamphetamine, its salts,

isomers, and salts of its isomers, a Schedule IT controlled substance.

[21 U.S.C. §§ 841(a)(1), (6)(1)(B)]

COUNT FORTY-TWO

The Grand Jury charges that on or about June 22, 2021, within the Eastern District of
Tennessee, the defendant, BRIDGETTE JOAN BLEDSOE, did knowingly, intentionally, and
without authority possess with intent distribute 50 grams or more of methamphetamine, its salts,

isomers, and salts of its isomers, a Schedule II controlled substance.
[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]
COUNT FORTY-THREE

The Grand Jury charges that on or about June 22, 2021, within the Eastern District of
Tennessee, the defendant, BRIDGETTE JOAN BLEDSOE, did knowingly, intentionally, and
without authority possess with intent distribute 40 grams or more of a mixture and substance
containing a detectable amount of fentanyl (N-phenyl-N-[1-(2-phenylethy])-4-piperidiny1]

propenamide), a Schedule I controlled substance.

[21 U.S.C. §§ 841(a)(1), (6)(1)(B)]

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COUNT FORTY-FOUR
The Grand Jury further charges that beginning in or about the month of August 2020 and

continuing until in or about the month of July 2021, within the Eastern District of Tennessee, and
elsewhere, the defendant, ALMA NICOLE CRADIC, also known as “Alma Bowers”, also knowns
as “Nicole”, also known as “Nicole Jolene”, and other persons known and unknown to the Grand
Jury, did knowingly, intentionally, and without authority, combine, conspire, confederate and
agree with each other to commit the following offenses against the United States of America:
knowingly conducting and attempting to conduct financial transactions affecting interstate
commerce and foreign commerce involving the proceeds of specified unlawful activity, that is
violations of Title 21 United States Code Sections 846 and 841(a)(1), with the intent to promote
the carrying on of the specified unlawful activity, and that while conducting and attempting to
conduct such financial transactions knew that the property involved in the financial transactions
represented the proceeds of some form of unlawful activity, in violation of Title 18 U.S.C. §
1956(a)(1)(A){i).

[18 U.S.C. § 1956(h)]

NOTICE OF ENHANCED PENALTIES
Before committing the offenses charged in this Indictment, the following defendants had
at least one final conviction for a serious drug felony for which they served at least 12 months in
custody and were released from custody no more than 15 years before the commencement of the
offenses charged in this indictment:
1) ALMA NICOLE CRADIC, also known as “Alma Bowers”, also known as “Nicole”,
also known as “Nicole Jolene”, convicted of Conspiracy to Possess with Intent to

Distribute and Distribute OxyContin under 21 U.S.C. §§ 846;

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2) ANGELA MARIE FALIN, also known as “Angel”, convicted of Conspiracy to

Manufacture Methamphetamine under 21 U.S.C. §§ 846 and 841(b)(1)(C).

As aresult, the defendants, ALMA NICOLE CRADIC, also known as “Alma Bowers”, also
known as “Nicole”, also known as “Nicole Jolene” and ANGELA MARIE FALIN, also known
as “Angel” are subject to enhanced penalty under Title 21, United States Code Sections
841(b)(1)(A) and 851.

FORFEITURE ALLEGATIONS

a The allegations contained in this Indictment are hereby realleged and incorporated
by reference for the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853, Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code,
Section 2461(c).

a Upon conviction of an offense in violation of Title 21, United States Code,
Section 841, as set forth in Counts 1-4, 7-8, 11, 14-19, 22-23, 26, 28-29, 31, 35-43, the
defendants, ALMA NICOLE CRADIC, also known as “Alma Bowers”, also knowns as
“Nicole”, also known as “Nicole Jolene”, CLAUDE MOSLEY, JR., also known as “J.R.”,
BARRY JONES, TRAVIS DOUGLAS ADAMS, SIERRA MICHELLE CROY, BRIDGETTE
JOAN BLEDSOE, CHAD GARY FRAZIER, BRIAN SCOTT SHEETS, ANGEL MARIE
FALIN, also known as “Angel”, DENNIS RAY BISHOP, JR., also known as “Butch”, JACOB
COLE, RACHEL MATHES, also known as “Rachel Christian”, shall forfeit to the United States
any and all property used, and intended to be used, to commit, and to facilitate the commission of
a violation of Title 21, United States Code, Section 841/or 846 and, and any and all property
constituting and derived from any proceeds obtained, directly or indirectly, as a result of a
violation of Title 21, United States Code, Section 841 and/or 846, including, but not limited to

the following properties:

18
All Firearms and Ammunition

MONEY JUDGMENT

Proceeds the defendants, ALMA NICOLE CRADIC, also known as “Alma Bowers”, also
knowns as “Nicole”, also known as “Nicole Jolene”, CLAUDE MOSLEY, JR., also known as
“J.R.”, BARRY JONES, TRAVIS DOUGLAS ADAMS, SIERRA MICHELLE CROY,
BRIDGETTE JOAN BLEDSOE, CHAD GARY FRAZIER, BRIAN SCOTT SHEETS, ANGEL
MARIE FALIN, also known as “Angel”, DENNIS RAY BISHOP, JR., also known as “Butch”,
JACOB COLE, and RACHEL MATHES, also known as “Rachel Christian,” personally obtained
as a result of the violations of Title 21, United States Code, Section 841 and/or 846.

3. Upon conviction of an offense in violation of Title 18, United States Code,
Section 924 and/or 922, as set forth in Counts 5, 6, 9, 10, 12, 13, 20, 21, 24, 25, 27, 30, 32, 33
and 34 the defendants, ALMA NICOLE CRADIC, also known as “Alma Bowers”, also knowns
as “Nicole”, also known as “Nicole Jolene”, CLAUDE MOSLEY, JR., also known as “J.R.”,
BARRY JONES, TRAVIS DOUGLAS ADAMS, SIERRA MICHELLE CROY, BRIDGETTE
JOAN BLEDSOE, CHAD GARY FRAZIER, BRIAN SCOTT SHEETS, ANGEL MARIE
FALIN, also known as “Angel”, DENNIS RAY BISHOP, JR., also known as “Butch”, JACOB
COLE, and RACHEL MATHES, also known as “Rachel Christian,”, shall forfeit to the United
States pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28, United States
Code, Section 2461(c), any firearms and ammunition involved in or used in the commission of
the offense.

MONEY LAUNDERING FORFEITURE ALLEGATION
4. The allegation contained in Count Forty-Four of this Indictment is hereby

realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to Title

19
18, United States Code, Section 982(a)(1).

5: Upon conviction of an offense in violation of Title 18, United States Code,
Sections 1956, the defendant, ALMA NICOLE CRADIC shall forfeit to the United States of
America any property, real or personal, as proceeds involved in such offenses, and any property
traceable to such property, including but not limited to:

A. Money Judgment

Proceeds the defendants, ALMA NICOLE CRADIC personally obtained as a
result of the violations of Title 18, United States Code, Sections 1956.

6. If any of the properties described above, as a result of any act or omission of the
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without

difficulty, the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p) and Title 28, United States Code,

Section 2461 (c).

 

FOREPERSON

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APPROVED:

FRANCIS M. HAMILTON, III
Acting United States Attorney

ek oe
EMILY M. SWECKER
Assistant United States Attorney

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